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Attorneys for Defendant Joseph Delia


              IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

MARIA M. GIVENS, as Personal           )
Representative of the Estate of        )
Raymond C. Givens,                     )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )
                                       )
JOSEPH DELIA,                          ) Case No. 3:23-cv-00121-HRH
                                       )
            Defendant.                 )
                                       )

      DECLARATION OF ANDREW ERICKSON IN SUPPORT OF
       DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

I, Andrew Erickson, declare as follow:

      1.    I have personal knowledge of the facts and information set forth in

this declaration, and if called as a witness, I could and would testify to them.

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      2.    I am an attorney at the law firm of Landye Bennett Blumstein LLP

and am counsel for Defendant Joseph (“Joe”) Delia in the above-captioned mat-

ter. This declaration is submitted in support of the Defendant’s Motion for

Summary Judgment and to authenticate the exhibits referenced therein.

      4.    Exhibit A is a true and accurate copy of Plaintiff’s Motion for Pre-

judgment Writ of Attachment, Docket No. 121, Givens v. Oenga Jr., No. 3:21-

cv-00008-HRH (D. Alaska June 11, 2024).

      5.    Exhibit B is a true and accurate copy of excerpts of the transcript

of Raymond C. Givens’ November 14 and 15, 2022 testimony under oath in the

Alaska Bar Association Fee Arbitration matter of Leroy Oenga v. Raymond C.

Givens, ABA No. 2021-F012, which was produced by the Plaintiff in this litiga-

tion and labeled G-003964, G-004097–004098, G-004147, G-004206, G-004258,

G-004296–004697, and G-004476. Exhibit B is admissible evidence for the

truth of the matters asserted pursuant to Federal Rule of Evidence 804(b)(1).

Exhibit B is filed separately under seal pursuant to the Stipulation and Agree-

ment Regarding Documents Filed Under Seal (Docket No. 81).

      6.    Exhibit C is a true and accurate copy of the Declaration of Ray-

mond C. Givens, Docket No. 21, Givens v. Oenga Jr., No. 3:21-cv-00008-HRH

(D. Alaska May 10, 2021). Exhibit C is admissible evidence for the truth of the

matters asserted pursuant to Federal Rule of Evidence 804(b)(1).

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      7.    Exhibit D is a true and accurate copy of the Contingency Fee Con-

tract, dated October 31, 2003, which was produced by the Plaintiff in this liti-

gation and labeled G-000018–000025.

      8.    Exhibit E is a true and accurate copy of the Order on Motion for

Reconsideration, Docket No. 54, Givens v. Oenga Jr., No. 3:21-cv-00008-HRH

(D. Alaska Sept. 24, 2021).

      9.    Exhibit F is a true and accurate copy of the Contingency Fee Con-

tract First Amendment, dated August 5, 2011, which was previously filed at

Docket No. 42-2, Givens v. Wallace Oenga, No. 3:19-cv-00043-HRH.

      10.   Exhibit G is a true and accurate copy of excerpts of the transcript

of the deposition of Raymond C. Givens dated October 12, 2022, taken in the

Alaska Bar Association Fee Arbitration matter of Leroy Oenga v. Raymond C.

Givens, No. 2021-F012, which was produced by the Plaintiff in this litigation

and labeled G-009312, G-009489–009490, G-009494–009495, and G-009553.

Exhibit G is admissible evidence for the truth of the matters asserted pursuant

to Federal Rule of Evidence 804(b)(1). Exhibit G is filed separately under seal

pursuant to the Stipulation and Agreement Regarding Documents Filed Under

Seal (Docket No. 81).

      11.   Exhibit H is a true and accurate copy of the Settlement Agree-

ment and Release of All Claims, dated May 24, 2012, which was produced by

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the Plaintiff in this litigation and labeled G-000642–000671. Exhibit H is filed

separately under seal pursuant to the Stipulation and Agreement Regarding

Documents Filed Under Seal (Docket No. 81).

      12.   Exhibit I is a true and accurate copy of the U.S. Department of

the Interior, Bureau of Indian Affairs, Lease Agreement, BIA Lease No. 985-

1472, dated May 24, 2012, which was produced by the Plaintiff in this litigation

and labeled G-000714–000736. Exhibit I is filed separately under seal pursu-

ant to the Stipulation and Agreement Regarding Documents Filed Under Seal

(Docket No. 81).

      13.   Exhibit J is a true and accurate copy of the Fee/Cost Reduction

Agreement, dated May 24, 2012, which was previously filed at Docket No. 42-

2, Givens v. Wallace Oenga, No. 3:19-cv-00043-HRH.

      14.   Exhibit K is a true and accurate copy of the Letter from Eugene

R. Virden, Regional Director, BIA Alaska Region, to Raymond C. Givens (Dec.

9, 2011), which was previously filed with its current redactions at Docket No.

66, Givens v. Wallace Oenga, No. 3:19-cv-00043-HRH.

      15.   Exhibit L is a true and accurate copy of the Complaint for Declar-

atory Judgment, Damages, and Specific Performance, Docket No. 1, Givens v.

Oenga Jr., No. 3:21-cv-00008-HRH) (D. Alaska Jan. 19, 2021).




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      16.   Exhibit M is a true and accurate copy of the United States’ Sup-

plemental Brief Regarding Plaintiff’s Motion to Enforce Judgment and Rule

70(a) Order and the Court’s Order to Show Cause, Docket No. 69, Givens v.

Wallace Oenga, No. 3:19-cv-00043-HRH (D. Alaska Mar. 19, 2020).

      17.   Exhibit N is a true and accurate copy of the Complaint for Declar-

atory Judgment, Damages, and Specific Performance, Docket No. 1, Givens v.

Wallace Oenga, No. 3:19-cv-00043-HRH (D. Alaska Feb. 14, 2019).

      18.   Exhibit O is a true and accurate copy of the Order on Motion for

Rule 60(b) Relief, Docket No. 90, Givens v. Wallace Oenga, No. 3:19-cv-00043-

HRH (D. Alaska Mar. 1, 2023).

      19.   Exhibit P is a true and accurate copy of the Memorandum from

Raymond C. Givens to the Oenga Heirs, dated August 15, 2011, which was

produced by the Plaintiff in this litigation and labeled G-001156–001157.

      20.   Exhibit Q is a true and accurate copy of the Ballot regarding Set-

tlement Agreement; Oenga v. US et al CFC#06-491L, which was produced by

the Plaintiff in this litigation and labeled G-001239. The names of individuals

who are not parties to this litigation have been redacted.

      21.   Exhibit R is a true and accurate copy of the Givens Law Firm,

Account QuickReport, from 2008 through 2021, which was produced by the




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Plaintiff in this litigation and labeled G-002702–002715. The names of individ-

uals who are not parties to this litigation have been redacted.

      22.   Exhibit S are true and accurate copies of United States Treasury

checks to Raymond C. Givens, which were produced by the Plaintiff in this

litigation and labeled G-002272–002274, G-002314–002315, and G-002321–

002323. The names and account numbers of individuals who are not parties to

this litigation have been redacted.

      23.   Exhibit T is a true and accurate copy of the letter from Raymond

C. Givens to Michael D. Stotts, dated September 11, 2003, which was produced

by the Plaintiff in this litigation and labeled G-001161–001162.

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      24.    Based on the information in Exhibits R and S, the following table

demonstrates the date and amount of each payment that Joe made to Ray from

2006 to 2020, including the amounts of each payment that Ray allocated to his

fees or costs. The table also provides a calculation of the total amount that Joe

paid to Ray during the period from 2006 to 2020.

                                                                  Bates Number
     Date         Total Paid        Fees               Costs
                                                                  Reference
     2006-06-07           $954.45           $954.45               G-2274
     2006-10-19           $398.19           $398.19               G-2314
     2007-10-25           $198.98           $198.98               G-2323
     2008-11-03           $201.63           $167.97        $33.66 G-2715
     2009-11-30           $167.97           $167.97               G-2714
     2010-09-16         $8,870.97          $8,870.97              G-2713
     2011-10-17        $40,625.00       $40,625.00                G-2712
     2012-08-14     $1,258,489.00    $1,147,374.00 $111,115.00 G-2711
     2012-10-24        $41,300.99       $41,300.99                G-2711
     2013-10-28        $42,025.58       $42,025.58                G-2710
     2014-10-17        $42,896.50       $42,896.50                G-2709
     2015-10-02        $42,949.60       $42,949.60                G-2708
     2016-10-05        $43,381.54       $43,381.54                G-2707
     2017-09-27        $44,086.52       $44,086.52                G-2706
     2018-10-12        $45,352.47       $45,352.47                G-2705
     2019-11-07        $46,100.11       $46,100.11                G-2704
     2020-10-13        $44,451.88       $44,451.88                G-2703
     2020-11-09         $1,855.80          $1,855.80              G-2703
     TOTAL          $1,704,307.18    $1,593,158.52 $111,148.66

                        Table 1. Payments that Joe made to Ray.




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        25.     Based on the information in Exhibits R and S, the following table

demonstrates the total amounts that the Oenga heirs (including Joe) paid to

Ray between 2006 and 2021, including an identification of payments allocated

to Ray’s attorney’s fees or costs. The table also provides a calculation of the

total amount that the Oenga heirs (including Joe) paid to Ray during the period

from 2006 to 2021.

 Year         Total Paid       Fees               Costs           Bates Number Reference
 2006           $133,513.29       $133,513.29                     G-2272–2274; G-2314–2315
 2007             $20,088.03       $20,088.03                     G-2321–2323
 2008             $15,122.16       $12,597.75         $2,524.41 G-2715
 2009              $4,703.25          $4,703.25                   G-2714
 2010              $8,870.97          $8,870.97                   G-2713
 2011           $160,875.00       $160,875.00                     G-2712
 2012          $3,903,396.95    $3,570,051.95      $333,345.00 G-2711
 2013             $82,370.14       $82,370.14                     G-2710
 2014          $1,335,898.14    $1,229,227.14      $106,671.00 G-2709
 2015           $399,852.26       $391,830.26         $8,022.00 G-2708
 2016           $171,744.62       $171,744.62                     G-2707
 2017           $135,758.25       $135,758.25                     G-2706
 2018           $134,243.33       $134,243.33                     G-2705
 2019             $51,602.21       $51,602.21                     G-2704
 2020           $375,773.16       $375,773.16                     G-2703
 2021             $95,842.65       $95,842.65                     G-2702
 TOTAL         $7,029,654.41    $6,579,092.00      $450,562.41

                 Table 2. Payments that the Oenga heirs (including Joe) made to Ray.




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      26.   Based on the information in the preceding paragraph and Exhibit

B at 7-8, I estimated that Ray’s effective hourly rate, to date, for his represen-

tation of the Oenga heirs is at least $800.00 per hour. My calculation is based

on the following:

            a.      To date, Ray has received $6,579,092.00 in attorney’s fees

from the Oenga heirs. See supra ¶ 25.

            b.      I assumed that Ray’s own estimate of working up to 7,000

hours on behalf of the Oenga heirs is correct and that all the time he spent on

the matter was reasonably necessary. See Exhibit B at 8.

            c.      I also assumed that Ray’s estimate of his paralegal working

up to 3,000 hours on behalf of the Oenga heirs is correct and that all the para-

legal’s time was reasonably necessary. See Exhibit B at 8.

            d.      Finally, I assumed that Ray’s paralegal’s hourly rate was

$325.00, which would be an extremely high rate for a paralegal in 2012. 3,000

hours at $325.00 per hour equals $975,000.00 attributable to paralegal work.

The remaining $5,604,092.00 that Ray has already received is attributable to

Ray’s 7,000 hours. Thus, Ray’s effective hourly rate is $800.58.




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      Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that

the foregoing is true and correct.



DATED: June 6, 2025                  /s/ Andrew Erickson
                                     ________________________________________
                                     Andrew Erickson, Alaska Bar No. 1605049

                                     Attorney for Defendant Joseph Delia




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